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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA



IN RE: OIL SPILL BY THE OIL RIG     *    MDL NO. 2179
“DEEPWATER HORIZON” IN THE          *
GULF OF MEXICO, ON APRIL 20,        *    SECTION: J
2010                                *    JUDGE BARBIER
                                    *    MAGISTRATE JUDGE SHUSHAN
THIS DOCUMENT RELATES TO *
ALL ACTIONS                         *
                                    *
                                    *
*****************************************************************************

                    MEMORANDUM IN SUPPORT OF
               BP’S OBJECTIONS TO AND APPEAL FROM
             MAGISTRATE JUDGE’S ORDERS REGARDING
   PRODUCTION OF WOODS HOLE ANALYSIS DOCUMENTS [REC. DOC. 6463]

       On December 9, 2011, BP served a subpoena duces tecum on Woods Hole

Oceanographic Institution (“Woods Hole”) for production of documents regarding its work

pertaining to the Deepwater Horizon incident. This work was undertaken in coordination with

the federal government’s Flow Rate Technical Group (“FRTG”). The work of Woods Hole

contributed to the federal government’s issuance of an official flow rate report, and resulted in

the publication of several journal articles. Woods Hole objected to the request for disclosure of

certain e-mails, drafts, and internal communications between Woods Hole scientists (“analysis

documents”), maintaining that these discussions were protected under a “scholastic privilege” or

other protection.

       On April 20, 2012, Magistrate Judge Shushan ordered Woods Hole to produce all

“analysis documents” generated on or before March 10, 2011, the date of publication of the

FRTG’s final report. [See Rec. Doc. 6304, at 11.] Magistrate Judge Shushan’s Order stated that
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all “analysis documents” generated after March 10, 2011, were protected from disclosure under

Cusumano v. Microsoft Corp., 162 F.3d 708 (1st. Cir. 1998). [See Rec. Doc. 6304, at 11.]

        Woods Hole [Rec. Doc. 6361] and BP [Rec. Doc. 65111] filed cross-motions for

reconsideration, contending that the Court should alter the date range for production of “analysis

documents.” On May 8, 2012, Magistrate Judge Shushan denied both Woods Hole’s and BP’s

motions for reconsideration. [Rec. Doc. 6463.]

        BP respectfully disagrees with the conclusion that Woods Hole’s “analysis documents”

are subject to Cusumano’s protection, and respectfully submits that, on this issue, the Order is

clearly erroneous and contrary to law. Accordingly, BP respectfully appeals the portions of the

April 20 and May 8 Orders protecting from disclosure Woods Hole’s “analysis documents”

generated after March 10, 2011.

        BP has already explained in extensive briefing before Judge Shushan why it has a

compelling need for all of Woods Hole’s “analysis documents” and why Woods Hole has no

basis under law to withhold these documents from disclosure. [See, e.g., Rec. Doc. 6511 (BP’s

motion for reconsideration); Rec. Doc. 6270 (BP’s April 11, 2012, letter to the Court); Rec. Doc.

6106 (BP’s March 15, 2012, letter to the Court); Rec. Doc. 6104 (BP’s March 8, 2012, letter to

the Court).] For its part, Woods Hole has presented extensive briefing in opposition to the

disclosure of “analysis documents.” [See, e.g., Rec. Doc. 6361 (Woods Hole’s motion for

reconsideration); Rec. Doc. 6268 (Woods Hole’s April 5, 2012, letter to the Court); Rec. Doc.

6105 (Woods Hole’s March 15, 2012, letter to the Court).]

        In light of the extensive briefing that took place before Judge Shushan, BP respectfully

incorporates by reference each of its prior motions and letters to the Court regarding Woods

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    BP’s motion for reconsideration was originally filed as Rec. Doc. 6389, and is referenced in the Court’s Order
    by this document number. However, the current, sealed document is filed as Rec. Doc. 6511.


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Hole’s privilege claims. [See Rec. Docs. 6511, 6270, 6106, 6104.] BP is amenable to having the

Court decide this appeal on the record compiled in the briefing before Judge Shushan. Of

course, BP will submit any additional material or briefs this Court deems helpful or appropriate.


Dated: May 15, 2012                          Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to LexisNexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 15th day of May, 2012.


                                                   /s/ Don K. Haycraft
                                                   Don K. Haycraft
